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SUPERIOR COURT OF WASHINGTON
IN AND FOR GRAYS HARBOR COUNTY

ROBERT A. SHOBERG,
Plaintiff,

VS.
GRAYS HARBOR COUNTY, a Washington
municipal corporation; GRAYS HARBOR
COUNTY BOARD OF COMMISSIONERS, the
legislative body of Grays Harbor County; and
GRAYS HARBOR DRUG TASK FORCE,

Defendant.

 

COMPLAINT FOR RETURN OF PERSONAL
PROPERTY ;

The Plaintiff, ROBERT A. SHOBERG, by and through his attorney, SCOTT A. CAMPBELL, brings

this cause of action toe obtain redress for the unlawful deprivation of certain personal property seized

by the Defendant, Grays Harbor County, Grays Harbor County Board of Commissioners, and Grays

Harbor Drug Task Force, undef the color of state law.

|. JURISDICTION

4.1 This court has subject matter jurisdiction over this matter pursuant to RCW

10.105.010(5), 4.12.010(2) and 3.66.020(9).

COMPLAINT FOR RETURN
OF PERSONAL PROPERTY- Page 4 of 5

CAMPBELL LAW FIRM, INC., P.S. -
Attorneys at Law
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2.1. Venue is proper pursuant to RCW 4.12.010(2) because the subject of this cause of
action, certain personal property seized by the Defendant to which Plaintiff asserts an ownership
and/or possessory interest, occurred in the City of Aberdeen, County of Grays Harbor, State of
Washington.

lll. PARTIES

3.1 ROBERT A. SHOBERG, the Plaintiff is a resident of County of Grays Harbor, State of
Washington.

3.2 GRAYS HARBOR COUNTY, the defendant is a Washington municipal corporation.

3.3 GRAYS HARBOR COUNTY BOARD OF COMMISSIONER, the defendant is the legislative
body of Grays Harbor County,

. BA GRAYS HARBOR DRUG TASK FORCE, the defendant is the Grays Harbor Drug Task Force.
Upon information and belief, the Grays Harbor Drug Task Force is an interlocal cooperative
organization of law enforcement agents from different municipalities and/or other political

subdivisions that act on behalf of Grays Harbor County, a county organized under the laws of the State

of Washington.

3.5 Each of the acts and omissions alleged herein occurred in the City of Aberdeen, County .
of Grays Harbor, State of Washington.
IV. FACTS
4.1 On October 24, 2018, Defendant seized certain personal property to which Plaintiff

asserts an ownership and/or other possessory claim, to wit:

COMPLAINT FOR RETURN ‘ CAMPBELL LAW FIRM, INC., P.S.

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OF PERSONAL PROPERTY- Page 2 of 5 418 Stat Street * Montesano WA 98563

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Item 5: Ruger Rifle w/scope SN/6926025_ '

Item 6: Stevens Shotgun SN/130915N

Item 7: Savage 7mm Rifle w/scope SN/G711449

Item 8: Ruger 10/22 Rifle w/scope SN/G711449

Item 9: Springfield XD .45 cal SN/535225

Item 10: Mags for Springfield XD

Item 11: Black box for Springfield XD

Item 12: Lever Action Rifle SN/F19512

Item 13: Double Barre! Shotgun Thada Gon Co SN/379031
Item 14: Aris Aero Precision X15 SN/ARO4038

[tem 18: $6020 US Currency

Item 19: $4650 US Currency

Item 20: $280 US Currency

Item 23: Blue ammo can containing multiple cal of ammo
Item 25: Gray Infinity G35 LIC/BIA2613

Item 26: $1650 US Currency

 

 

 

4,2 On or about October 30, 2018, Plaintiff received from Defendant a Notice of Seizure
and Intended Forfeiture, which is attached hereto and incorporated by this referenced as Exhibit A.

‘43 To date, Plaintiff has not received from the Defendant any compensation for the
deprivation of the property identified in Paragraph 6 above.

4.4. The Defendant did not have probable cause to believe that the property seized

identified in Paragraph 6 above, was actually employed as an instrumentality in the commission of a

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felony in violation of RCW 10.105.010(1). i %
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V. DEPRIVATION OF CONSTITUTIONAL RIGHTS

PRIVILEGES, AND IMMUNITIES 4

{42 U,5.¢. § 1983)
- TAKINGS CLAUSE —

5.1 Plaintiffs incorporate the allegations contained in Paragraphs 6 through 9 with the

same force and effect as if fully set forth herein.

COMPLAINT FOR RETURN CAMPBELL LAW FIRM, INC., P.S.

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OF PERSONAL PROPERTY- Page 3o0f5 . 118 S.4st Street * Montesano WA 98563

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5.2‘ At all-times relevant to the allegations set forth in this Complaint, the Defendant
committed each and every act or omission under the color of the laws, statutes, ordinances,
regulations, customs or usages of the City of Aberdeen Police Department.

5.6 The Defendant intentionally, or with deliberate indifference and callous disregard of
Plaintiffs’ rights, deprived Plaintiffs of the subject property without just compensation in violation of
Article 1, Section 16, of the Washington State Constitution, and the Fifth Amendment to the United
States Constitution.

5.7. As a direct and proximate result of the unlawful taking of the subject property,
Plaintiffs have suffered damages including loss of use and enjoyment, interest, invasion of privacy,
attorneys’ fees, and costs associated with bringing this action to secure the return of his property. |

Vi. RELIEF REQUESTED

The Plaintiffs request the following relief:

6.1 A full adversarial hearing;

6.2 Judgment in favor of Plaintiff and against Defendant ordering the immediate return of
the subject personal property;

6.3 Compensatory damages for loss of use and enjoyment and lost interest, in an amount
to be determined at trial;

6.4 Damages in an amount to be determined at trial;

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6.5 Costs incurred in bringing this action; and

6.6 Such other relief as may be just, equitable, and proper.

COMPLAINT FOR RETURN 3 CAMPBELL LAW FIRM, INC., P.S.

: . Attorneys at Law
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VERIFICATION BY PLAINTIFF

| Certify that | am the plaintiff named herein, | have read the foregoing instrument and believe

the facts to be true and correct.

Signed at Montesano, Washington, on Whig , 2018.

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COMPLAINT FOR RETURN CAMPBELL LAW FIRM, ING., P.S.
OF PERSONAL PROPERTY- Page 5 of 5 Attorneys al Law

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